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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                        )
                                                 )            8:16CR307
                     Plaintiff,                  )
                                                 )
       vs.                                       )              ORDER
                                                 )
GUSTAVO ALVARADO-GUERRERO,                       )
                                                 )
                     Defendant.                  )




       This matter is before the court on the motion of Marti S. Sleister to withdraw as
counsel for the defendant, Gustavo Alvarado-Guerrero (Filing No. 56). Ms. Sleister
represents she has a medical condition that will prevent future representation of the
defendant. Ms. Sleister’s motion to withdraw (Filing No. 56) is granted.
       The court has determined the defendant remains eligible for appointment of counsel
pursuant to the Criminal Justice Act, 18 U.S.C. §3006A, and the Amended Criminal Justice
Act Plan for the District of Nebraska. Attorney Mary C. Gryva, P.O. Box 8574, Omaha,
Nebraska 68106, is appointed as counsel for the defendant for the balance of these
proceedings and shall forthwith file an appearance in this matter.
       Ms. Sleister shall forthwith provide Mary C. Gryva with the discovery materials
provided the defendant by the government and such other materials obtained by Ms.
Sleister which are material to the defendant's defense.
       IT IS SO ORDERED.
       IT IS FURTHER ORDERED that the Clerk shall provide a copy of this order to Mary
C. Gryva.
       IT IS FURTHER ORDERED that the Motion to Continue Pretrial Motions and Trial
(Filing No. 62) is granted in part, and the pretrial motion deadline is extended to April 3,
2017. The ends of justice have been served by extending such time and outweigh the
interests of the public and defendant in a speedy trial. The additional time as a result of
extending the pretrial motion deadline, i.e., from March 2, 2017, to April 3, 2017, shall be
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deemed excludable time in any computation of time under the requirement of the Speedy
Trial Act for the reason defendant’s counsel requires additional time to adequately prepare
the case, taking into consideration due diligence of counsel, and the novelty and complexity
of this case. The failure to grant such additional time might result in a miscarriage of
justice. 18 U.S.C. § 3161(h)(7)(A) & (B). The trial scheduled on March 14, 2017 is
canceled and will be rescheduled by further order of the court as to all defendants.


       DATED this 3rd day of March, 2017.


                                                 BY THE COURT:


                                                 s/ Susan M. Bazis
                                                 United States Magistrate Judge




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